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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 2:16-CV-14527-ROSENBERG/LYNCH


  PATRICIA A. KLEIN, on behalf of herself
  and all others similarly situated,


         Plaintiff,

  v.

  MCKINNON & HAMILTON, PLLC,
  a Florida Limited Liability Company, and
  CHARLES W. MCKINNON, individually,

        Defendants.
  _________________________________________/

                  JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

         Defendants, McKinnon & Hamilton, PLLC, and Charles W. McKinnon, and the Plaintiff,

  Patricia A. Klein, by and through the undersigned counsel, pursuant to Federal Rule of Civil

  Procedure 41(a)(1)(A)(ii) hereby STIPULATE AND AGREE, that the above cause, having been

  amicably resolved, be dismissed with prejudice as to all claims, between all parties, with each

  party to bear their own costs and attorneys’ fees in this matter.

  Dated: May 22, 2018.                          Respectfully submitted,

                                                         /s/ Leo W. Desmond
                                                        Leo W. Desmond, Esq.
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                                   CERTIFICATE OF SERVICE


         I HEREBY CERTIFY that on May 22, 2018, I electronically filed the foregoing

  document with the Clerk of Court using CM/ECF. I also certify that the foregoing document is

  being served this date via U.S. mail and/or some other authorized manner for those counsel or

  parties, if any who are not authorized to receive electronically Notices of Electronic Filing.



                                                                Respectfully submitted,

                                                                 /s/ Leo W. Desmond
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